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             EXHIBIT B
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---------- Forwarded message ---------
From: _ANCCC <ANCCC@americorps.gov>
Date: Tue, Apr 15, 2025 at 3:54 PM
Subject: Letter to All Members on Demobilization
To:
CC: _ANCCC <ANCCC@americorps.gov>



Dear NCCC Members,



We are writing to provide you with an important and urgent update on your NCCC service.



In alignment with the Trump-Vance Administration priorities and Executive Order 14222,
“Implementing the President's ‘Department of Government Efficiency’ Cost Efficiency Initiative,”
AmeriCorps NCCC is working within new operational parameters that impact the program’s ability
to sustain program operations. As a result, AmeriCorps is sending all NCCC members to their
homes of record as soon as possible.



At this time, all teams are directed to return to their Region campus immediately—as soon as
is safely practicable. NCCC Members will be moved into administrative hold with pay status
through April 30th, 2025, after which they will be exited from the NCCC program. The program will
exit all Members early with Compelling Personal Circumstances (CPC) status.

CPC designation means that your service is concluding due to programmatic circumstances
beyond your control. You will be considered to have successfully completed AmeriCorps service,
and those of you who have completed 15% or more of your 1700-hour service term will be eligible
for a prorated Education Award. Unfortunately, this prorated award cannot be extended to those of
you who have not yet completed 15% of your hours.

Your Unit Leader or other Region staff will be in touch with you shortly to conﬁrm details of your
Team’s return to campus, as well as to describe other logistical details of return to your Home of
Record. Staff will also be in contact with your project sponsors and will inform them of the need to
exit members.



Medical Hold

If you are on medical hold, you’ll remain at your current location in medical hold status. On April
30th, 2025, your status will change to “exited with Compelling Personal Circumstances,” and staff
will coordinate the return of any belongings remaining on campus to your Home of Record.
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Beneﬁts

Members will continue to receive living allowance and IMG health beneﬁts while on administrative
hold status (through April 30th, 2025) and will be eligible for continued loan forbearance. Members
will not, however, receive the daily food allowance provided during project rounds. Please contact
your Member Support Specialist if you notice any disruption to your living allowance or IMG health
care beneﬁts or have questions about accessing your beneﬁts. Inquiries can also be directed to
NCCCmemberbeneﬁts@americorps.gov.



Home of Record

If your Home of Record has changed or needs to change, please notify Region staff immediately.



We recognize the early conclusion of your service term causes signiﬁcant disruption to your
personal and professional planning. We deeply regret this impact. Your desire to strengthen
American communities is commendable, and we thank you for your service in AmeriCorps NCCC.
